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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., DOMINION                )
VOTING SYSTEMS, INC., AND                  )
DOMINION VOTING SYSTEMS                    )
CORPORATION,                               )
     Plaintiffs/Counter-Defendants,        )
                                           )
v.                                         )
                                           )
MY PILLOW, INC.                            )
      Defendant/Counter-Plaintiff,         )   Case No. 1:21-cv-00445-CJN
AND                                        )
MICHAEL J. LINDELL,                        )
     Defendant/Counter-Plaintiff, Third-   )
     Party Plaintiff,                      )
                                           )
v.                                         )
                                           )
SMARTMATIC USA CORP.,                      )
SMARTMATIC INTERNATIONAL                   )
HOLDING B.V., SGO CORPORATION              )
LIMITED, AND HAMILTON PLACE                )
STRATEGIES, LLC,                           )
     Third-Party Defendants.               )


      THIRD-PARTY PLAINTIFF MICHAEL J. LINDELL’S MEMORANDUM
       IN OPPOSITION TO SMARTMATIC’S MOTION FOR SANCTIONS
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                                              I.
                                        INTRODUCTION

       “The judicial system would serve little purpose if parties who believe they are aggrieved

cannot file a lawsuit to address grievances.” So said Smartmatic1 in its Motion to Dismiss (Dkt.

No. 94), at 3. But Smartmatic believes that this only applies to some parties—in a new phase of

its Lawfare campaign, it now seeks sanctions against Defendant, Counter-Plaintiff and Third-Party

Plaintiff Michael J. Lindell (“Lindell”) and his lawyers.

       Smartmatic—working in conjunction with Dominion2 and HPS3—has weaponized the

judicial system to silence its critics.    This unprecedented misuse of the courts must stop.

Unfortunately, standing up to the quasi-governmental companies, like Smartmatic, that run our

election systems is a monumental task that most Americans either cannot afford or are unwilling

to do. Lindell fits neither of those molds. Instead, he is determined to put an end to Smartmatic’s

and Dominion’s attempt to use Lawfare to silence himself and his fellow Americans from exposing

the myriad of evidence and expert testimony going back to 2003 showing how electronic voting

machines can be hacked and used to steal elections. That evidence is detailed in his Original Third-

Party Complaint against Smartmatic (the “Complaint”) (Dkt. No. 87). Unhappy that it failed to

silence Lindell through its threats and lawsuits against critics, Smartmatic has now filed a baseless

motion for sanctions against Lindell and his counsel.




       1
        “Smartmatic” refers collectively to Third-Party Defendants Smartmatic USA Corp.,
Smartmatic International Holding B.V. and SGO Corporation Limited.
       2
       “Dominion” refers collectively to Plaintiffs/Counter-Defendants U.S. Dominion, Inc.;
Dominion Voting Systems, Inc.; and Dominion Voting Systems Corporation.
       3
         “HPS” refers to Third-Party Defendant Hamilton Place Strategies, LLC. HPS, Smart-
matic and Dominion are at times collectively referred to as “Defendants.”


                                                 1
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       Lindell’s claims against Smartmatic are solidly grounded in the concept that the courts

should not be weaponized to stifle free speech. Lindell’s free speech claims are also supported by

well-pled factual allegations with evidentiary support—including citing expert testimony by

renowned election security expert and University of Michigan science and engineering professor,

J. Alex Halderman. Complaint ¶¶ 3, 76, 85-86, 112 (Dominion voting machines can be used “to

steal votes” in at least 16 states); see also ¶¶ 8, 118-23 (alleging evidence showing that the

electronic voting machines were hacked or used to steal the November 2020 General Election).

That Smartmatic disagrees with the facts and expert testimony pled in the Complaint is not

surprising. But none of the cases that Smartmatic relies on adjudicated the facts pled in the

Complaint. Smartmatic’s Motion for Rule 11 Sanctions (the “Motion”) (Dkt. No. 118) is as

baseless as it is disingenuous and should be denied.

                                              II.
                                       LEGAL STANDARD

       Pursuant to Rule 11 of the Federal Rules of Civil Procedure, an attorney or party who files

a pleading, motion, or other paper with the court must certify that “to the best of the person’s

knowledge, information, and belief,” formed after a reasonable inquiry under the circumstances:

(1) the filing is not being presented for any improper purpose, such as to harass, cause unnecessary

delay, or needlessly increase the cost of litigation; (2) the claims, defenses, and other legal conten-

tions are warranted by existing law or by a nonfrivolous argument for extending, modifying, or

reversing existing law or for establishing new law; and (3) the factual contentions have evidentiary

support or, if specifically so identified, will likely have evidentiary support after a reasonable op-

portunity for further investigation or discovery. Fed. R. Civ. P. 11(b)(1)-(3); see also Ahuruonye

v. United States Dep't of Interior, 312 F. Supp. 3d 1, 9 (D.D.C. 2018).




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       The test for sanctions under Rule 11 is an objective one: that is, whether a reasonable in-

quiry would have revealed that there was no basis in law or fact for the asserted claim. Maverick

Entm't Group, Inc. v. Does 1-2,115, 276 F.R.D. 389, 395 (D.D.C. 2011). In deciding if an inquiry

is reasonable under the circumstances, courts look to factors including time pressures, complexity,

feasibility of additional investigation, accessibility of information, knowledge, reliance on others,

notice, and available resources. Doe I v. Exxon Mobil Corp., No. 1:01-CV-1357-RCL, 2021 WL

1910892, at *3 (D.D.C. May 12, 2021) (citing Gregory P. Joseph, Sanctions: The Federal Law of

Litigation Abuse § 8A (6th ed., 2020)); see also Fed. R. Civ. P. 11 Advisory Committee Notes,

1983 Amendment.

        A finding that a claim is merely frivolous is not sufficient; rather, the claim must be “so

frivolous that it was ‘patently clear’ that it ‘had absolutely no chance of success under the existing

precedents and [that] no reasonable argument [could] be advanced to extend, modify or reverse

the law as it stands.’” LeFande v. Mische-Hoeges, No. 10-CV-1857 (DLF/GMH), 2018 WL

6620129, at *8 (D.D.C. Dec. 10, 2018) (emphasis added), report and recommendation adopted,

No. 10-CV-1857 (DLF), 2019 WL 8331599 (D.D.C. Jan. 29, 2019), aff’d, 806 Fed. Appx. 1 (D.C.

Cir. 2020) (citing Indep. Fed. Sav. Bank v. Bender, 230 F.R.D. 11, 16 (D.D.C. 2005)). Rule 11 is

violated where “[t]he case offered no hope whatsoever of success, and plaintiffs’ attorneys surely

knew it.” See id. (citing Saltany v. Reagan, 886 F.2d 438, 440 (D.C. Cir. 1989)) (emphasis added).

       Additionally, there is no basis in the text of Rule 11(b)(3) for the legal proposition that an

attorney must separately identify “fact” and “inference.” Lucas v. Duncan, 574 F.3d 772, 777

(D.C. Cir. 2009). The Rule merely requires an attorney to certify that the factual contentions in a

paper he presents to the court “have evidentiary support.” Id. (citing Fed. R. Civ. P. 11(b)(3)).

“Inferences”—which are commonly described as “circumstantial evidence”—are as capable of




                                                  3
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providing evidentiary support as “facts”—which are commonly described as “direct evidence.”

Id. (citing U.S. Postal Serv. Bd. of Governors v. Aikens, 460 U.S. 711, 714 n. 3, 103 S.Ct. 1478,

75 L.Ed.2d 403 (1983) (“As in any lawsuit, the plaintiff may prove his case by direct or circum-

stantial evidence.”); then citing Doe v. U.S. Postal Serv., 317 F.3d 339, 343 (D.C.Cir.2003) (“[W]e

generally draw no distinction between the probative value of direct and circumstantial evi-

dence.”)). “Circumstantial evidence is not only sufficient, but may also be more certain, satisfying

and persuasive than direct evidence.” Id. (quoting Rogers v. Mo. Pac. R.R. Co., 352 U.S. 500, 508

n. 17, 77 S.Ct. 443, 1 L.Ed.2d 493 (1957)).

       If the court determines that Rule 11(b) has been violated, the court may impose an appro-

priate sanction. Maverick Entm't Group, Inc., 276 F.R.D. at 395 (citing Fed. R. Civ. P. 11(c)).

Courts do not impose Rule 11 sanctions lightly; such sanctions are an extreme punishment for

filing pleadings that frustrate judicial proceedings, or that are filed to harass another party. Gon-

zalez Ramos v. ADR Vantage, Inc., No. 18-CV-01690 (APM), 2021 WL 4462411, at *1 (D.D.C.

Sept. 29, 2021) (citing In re Carvalho, 598 B.R. 356, 363 (D.D.C. 2019)). Notably, Rule 11 is not

intended to chill an attorney’s enthusiasm or creativity in pursuing factual or legal theories. Fed.

R. Civ. P. 11 Advisory Committee Notes, 1983 Amendment; see also Quick v. EduCap, Inc., No.

17-CV-01242 (APM), 2019 WL 95566, at *2 (D.D.C. Jan. 3, 2019).

                                             III.
                                          ARGUMENT

       Lindell and his counsel have fully complied with Rule 11 by filing a Complaint for a proper

purpose (protecting Lindell’s First Amendment right to free speech) warranted by existing law (or

at least a non-frivolous argument to extend existing law) with more than 130 citations to evidence

supporting Lindell’s claims.     Lindell’s Complaint was procedurally proper.          Smartmatic’s

requested sanctions are utterly unwarranted and overreaching. Smartmatic’s mischaracterizes



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Lindell’s complaint and cites to cases with vastly different fact patterns than exist here, and none

of those cases support an award of sanctions against Lindell or his counsel.

A.      Lindell And His Counsel Have Fully Complied With Rule 11.

        Lindell and his counsel have fully complied with Fed. R. Civ. P. 11(b). First, Lindell has

documented and presented more than sufficient facts to backstop his Complaint. Second, Lindell’s

causes of action are all consistent with, or are a natural extension of, existing law and legal theories.

Third, Lindell brought this lawsuit to protect his First Amendment right to free speech and not for

any improper purpose.

        1.       Lindell’s Complaint Is Factually Supported.

        Perhaps nowhere is the bad faith of Smartmatic’s Motion on display more boldly than its

allegation that Lindell has no factual support for his allegations as required by Fed. R. Civ. P.

11(b)(3). Motion, at 11-17. Smartmatic appears to recognize this in its heading—that “Mr. Lindell

and his counsel made provably false factual allegations…” Id. at 11 (emphasis added). Where

is the proof? Smartmatic’s competing evidence does not “prove” Lindell or his free speech claims

wrong. Putting that aside, if a factual allegation is “provably false” as Smartmatic argues, that

allegation clearly exists, so Smartmatic implicitly concedes that Lindell has pled facts in support

of his claims.

                 a.     Lindell Cites Extensive Evidence In Support Of The Complaint.

        Smartmatic’s statement that Lindell’s complaint has “no reasonable factual basis,” Motion

at 11, is intellectually dishonest and exposes the futility of the Motion. Between his Complaint

and his Response to Smartmatic’s Motion to Dismiss (“Response”) (Dkt. No. 104), Lindell cited

more than 130 pieces of evidence—including expert testimony—in support of his factual

allegations:




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     C-SPAN2, Senate Intelligence Committee Hearing on Russian Election
     Interference,             YouTube              (Jun.          21,            2017),
     https://www.youtube.com/watch?v=AmivIHUAy8Q (Complaint at 35 n.17);
     Mike Lindell, Absolutely 9-0, WVW Broadcast Network (Jun. 3, 2021) (Complaint
     at 36 n.18);
     Jacob Shamsian, Will Dominion End Up Owning MyPillow if It Wins a $1.3
     Billion Defamation Lawsuit Against Mike Lindell? Here Are 2 Ways It Could
     Take Control, INSIDER (Nov. 3, 2021), https://www.businessinsider.com/will-
     dominion-own-mypillow-if-it-wins-defamation-lawsuit-2021-11 (Complaint at 38
     n.19);
     Lachlan Markey, Trump-Targeted Voting Company Dominion Hires Top PR Firm
     to Help Against the Crazy, Daily Beast, (https://www.thedailybeast.com/trump-
     targeted-voting-company-dominion-hires-top-pr-firm-to-help-against-the-crazy)
     (Complaint at 38 n.20);
     Michael Steel, Dominion Spokesman: Mike Lindell is Begging to be Sued. We May
     Oblige           Him.,            CNN             (Feb.         7,           2021),
     https://www.youtube.com/watch?v=csONmhFDW4U (Complaint at 38 n.21);
     Dominion Threatens MyPillow CEO Mike Lindell with Lawsuit Over “False
     Conspiratorial” Claims, THE WASHINGTON POST (Jan. 18, 2021),
     https://www.washingtonpost.com/politics/2021/01/18/dominion-mike-lindell-
     mypillow/ (Complaint at 38 n.22);
     Case No. 1:21-cv-02672, Cooper v. US Dominion, Inc.; currently pending in the
     United States District Court for the District of Colorado (Complaint at 39 n.23);
     Robert Downes, United States Cable, U.S. EMBASSY CARACAS, VENEZUELA
     (Jul. 2006) (on file with U.S. State Department); Frank Jack Daniel, et al., U.S.
     Views Chavez in “Axis of Mischief,” REUTERS (Dec. 1, 2010),
     https://www.reuters.com/article/us-wikileaks-venezuela-
     idUSTRE6B040D20101202 (Complaint at 40 n.27);
     September 18, 2007 Stock Purchase Agreement between Smartmatic, Sequoia
     Voting Systems, and SVS Holdings, Inc., at pp. 7 and 36 (§8.14) (on file with
     owner) (Complaint at 41 n.31);
     Index No. 151136/2021, Smartmatic USA Corp. v. Fox Corporation, currently
     pending in the Supreme Court for the State of New York, New York County
     (Complaint at 41 n.32);
     Smartmatic USA Corp. v. Herring Networks, Inc., d/b/a One America News
     Network, currently pending in the United States District Court for the District of
     Columbia (Complaint at 41 n.33);
     Smartmatic USA Corp., v. Newsmax Media, Inc., currently pending in the Superior
     Court of the State of Delaware (Complaint at 41 n.34);
     Smartmatic USA Corp. v. Powell, currently pending in the United States District
     Court for the District of Columbia (Complaint at 41 n.35);
     State of Colorado Uniform Voting System Request for Proposal, RFP No. CDOS-
     UVS-2013-01, Business Proposal, DOMINION VOTING (Dec. 4, 2013),
     https://www.sos.state.co.us/pubs/elections/VotingSystems/RFI/proposals/Domini
     onVotingSystemsColoradoUVSProposal.pdf (Complaint at 42 n.37);



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     R. Gonski to Cyber Ninjas, CyFir, Digital Discovery, and Wake Technology
     Services (Apr. 6, 2021) (Complaint at 97 n.183);
     Cyber Ninjas, Maricopa County Forensic Election Audit, Volume I (Complaint at
     97 n. 185);
     Pl.’s Collective Resp. to Defs.’ and Non-Party Counties’ Mots. to Quash and for
     Protective Orders at Exs. 7-8 (April 9, 2021), Bailey v. Antrim County (No. 20-
     9238) (Complaint at 98 n. 186);
     Allied Security Operations Group Revised Preliminary Summary v.2, Antrim
     Michigan                 Forensics               Report,              12/13/2020,
     https://www.depernolaw.com/uploads/2/7/0/2/27029178/ex_8-9.pdf (Complaint at
     98 n. 187);
     Aff. Of Benjamin R. Cotton 8 April 2021 at 3, Case No. 20-9238-CZ, Bailey v.
     Antrim County (Complaint at 99 n. 188);
     Scott Bauer, Wisconsin Assembly OKs investigation into 2020 election, FOX6
     NEWS                MILWAUKEE,                 Mar.           23,            2020,
     https://www.fox6now.com/news/wisconsin-assembly-approves-election-
     investigation (Complaint at 99 n.189);
     Truak, Natasha and Amanda Macias, “Biden administration slaps new sanctions on
     Russia for cyberattacks, election interference,” Apr. 14, 2021,
     https://www.cnbc.com/2021/04/15/biden-administration-sanctions-russia-for-
     cyber-attacks-election-interference.html (Complaint at 99 n.190);
     Plaintiff’s Collective Response to Defendants’ and Non-Party Counties’ Motion to
     Quash and for Protective Orders, Ex. 4, Bailey v. Antrim Cty., No. 20-9238-CZ
     (Mich. Cir. Ct. May 18, 2021) (Complaint at 100 n.191);
     https://www.youtube.com/watch?v=xkY2LRA1ijQ (Complaint at 103 n.192);
     https://www.youtube.com/channel/UC57eE4MaR0oIwTinM__WQSg (Complaint
     at 105 n.193)
     Absolutely 9-0, WVW BROADCAST NETWORK (Jun. 3, 2021),
     https://www.worldviewweekend.com/tv/video/mike-lindell-presents-absolutely-9-
     0 (Complaint at 105 n.194);



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               Communications in the Age of Fake News: A Crisis Handbook for Election
               Commissions, SMARTMATIC, https://electionfactcheck.news/ (Complaint at 105
               n.195);
               Lachlan Markey, Trump-Targeted Voting Company Dominion Hires Top PR Firm
               to        Help        Against       the       Crazy,         DAILY       BEAST
               (https://www.thedailybeast.com/trump-targeted-voting-company-dominion-hires-
               top-pr-firm-to-help-against-the-crazy) (Complaint at 107 n.198);
               Michael Steel, Dominion Spokesman: Mike Lindell is Begging to be Sued. We May
               Oblige            Him.,          CNN             (Feb.          7,         2021),
               https://www.youtube.com/watch?v=csONmhFDW4U (Complaint at 107 n.199);
               Hannah Knowles and Emma Brown, Dominion threatens MyPillow CEO Mike
               Lindell with lawsuit over ‘false and conspiratorial’ claims, Washington Post, Jan.
               18, 2021, https://www.washingtonpost.com/politics/2021/01/18/dominion-mike-
               lindell-mypillow/ (Complaint at 107 n.200);
               https://www.propublica.org/article/the-market-for-voting-machines-is-broken-
               this-company-has-thrived-in-it (Complaint at 109 n.202);
               Legal Updates, Dominion Voting, https://www.dominionvoting.com/legal-
               updates-learn-how-we-are-defending-dominion/ (Complaint at 115 n.205);
               Grace Dean and Jacob Shamsian, From Mike Lindell to OAN, Here’s Everyone
               Dominion and Smartmatic are Suing Over Election Conspiracy Theories So Far,
               BUSINESS                INSIDER             (Aug.             14,          2021),
               https://www.businessinsider.com/everyone-dominion-smartmatic-suing-
               defamation-election-conspiracy-theories-2021-2 (Complaint at 117 n.206);
               Molly Ball, The Secret History of the Shadow Campaign That Saved the 2020
               Election, TIME (Feb. 4, 2021), https://time.com/5936036/secret-2020-election-
               campaign/ (Complaint at 117 n.207);
               Los Angeles County 2020–Present: VSAP Modernizes Elections, SMARTMATIC
               (Nov. 11, 2020) (https://www.smartmatic.com/us/case-studies/article/los-angeles-
               county-2020-present-vsap-modernizes-elections/) (Response at 7);
               Communications in the Age of Fake News–A Crisis Handbook for Election
               Commissions,             SMARTMATIC             (Jan.          22,         2020),
               https://www.smartmatic.com/us/media/article/-smartmatic-publishes-
               communications-handbook-for-election-officials/ (Response at 8);
               Smartmatic Response to eRFI–New Voting System, SMARTMATIC (Aug. 24, 2018)
               (https://sos.ga.gov/admin/files/Smartmatic%20RFI_Redacted.pdf) (Id.);
               Our history, SMARTMATIC, https://www.smartmatic.com/us/about/our-history/
               (Id.);
               June 12, 2018, LA County Board of Supervisors Adoption of Smartmatic Contract
               (Response at Exhibit A).

       At the pleading stage, Lindell was under no obligation to provide any evidence in support

of his claims, let alone marshal all his evidence. Despite this, Lindell offered extensive evidence

in support of his free speech claims—including evidence showing that the electronic voting



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machines were hacked or used to steal the November 2020 General Election. Complaint ¶¶ 3, 8,

76, 85-86, 112, 118-23. If Smartmatic wishes to contest this evidence, it will have an opportunity

to do so. Even if Smartmatic has evidence contradicting Lindell’s, that does not make Lindell’s

Complaint sanctionable.

               b.     Substantial Additional Evidence Supports Lindell’s Claims.

       In addition to the evidence Lindell has cited to date, substantial additional evidence

supports Lindell’s statements regarding of election fraud, of Smartmatic and Dominion’s corporate

interconnectedness and relationship to China and of the statistical improbabilities plaguing the

2020 General Election—all such that Lindell should not be facing defamation suits over such

statements. Lindell himself has compiled a cache of more than 100 documents evidencing election

fraud at https://frankspeech.com/content/2020-election-fraud-proof-internet-sources. And Lindell

is not the only person who has collected evidence of election fraud in the 2020 General Election.

       Patrick Colbeck, a former 2-term state senator in Michigan with a B.S.E. and M.S.E. in

aerospace engineering from the University of Michigan, has also collected extensive

documentation regarding election fraud at his website https://letsfixstuff.org/. Mr. Colbeck has

separated his evidence into four separate caches:

       https://letsfixstuff.org/2022/01/preparation-phase-references/;
       https://letsfixstuff.org/2022/01/main-attack-phase-references/;
       https://letsfixstuff.org/2022/01/backup-attack-phase-references/; and
       https://letsfixstuff.org/2022/01/defense-phase-references/.

       Matt DePerno, a Michigan attorney running for Michigan Attorney General, has posted all

of the documentation and expert reports he gathered in support of his client’s lawsuit regarding

voting irregularities in Antrim County, Michigan, at https://www.depernolaw.com/dominion.html

and https://www.depernolaw.com/all-expert-reports.html. See also Complaint ¶ 118 (b)-(c).

Wisconsin state representative and gubernatorial candidate Timothy Ramthun has also compiled a



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cache      of        documents      supporting        claims    of      election       fraud     at

https://legis.wisconsin.gov/assembly/59/Ramthun/evidence/. These document repositories are but

a few that maintain evidence supporting Lindell’s allegedly defamatory statements.

                c.     Wisconsin and Arizona Legislators Call To Decertify 2020 General
                       Election.

        Importantly, investigations into and repercussions arising out of the 2020 General Election

are continuing. Recent developments in Wisconsin and Arizona, where state legislators have

called for their states’ 2020 General Election results to be decertified and/or their presidential

electors recalled, lend further credence to Lindell’s statements that the 2020 General Election was

rife with fraud.

        In late 2021, Wisconsin Representative Ranthum announced a resolution to reclaim

Wisconsin’s 10 electors from the 2020 General Election. See Ranthum Resolution, attached as

Exhibit A and incorporated by reference as if fully set forth herein. One of the specific reasons

given for Rep. Ramthun’s resolution was “upgrades” performed on Dominion machines with no

reassurance that the 2020 General Election data integrity was maintained. Id. at 19.

        More recently, 11 state representatives and 3 state senators in Arizona introduced

HCR2033 to decertify and set aside the 2020 Arizona presidential electors.             See Arizona

HCR2033, attached as Exhibit B and incorporated by reference as if fully set forth herein. As in

Wisconsin, bases for the resolution included irregularities with the Dominion machines used in the

2020 General Election in Arizona. Id. at 3:25-29; 4:38-45.

                d.     Smartmatic’s Specific Complaints Are Not Grounds For Sanctions.

        Smartmatic picks three of Lindell’s factual allegations—that voting machines were hacked

in the 2020 General Election; Lindell’s reliance on Dr. Douglas Frank; and that Smartmatic has

ownership ties to China—and provides its evidence contradicting Lindell’s.           The fact that



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Smartmatic might have contradictory evidence (some of which comes from its own website, which

Smartmatic implicitly suggests Lindell must simply believe without any corroboration and despite

his own contrary evidence) does not mean that Lindell’s evidence is lacking. That determination

is for a jury. Simply put, there is nothing sanctionable about the factual basis for the Complaint.

       Smartmatic would have the Court believe that the story of the 2020 General Election has

been told in its entirety. It has not. As discussed above, Lindell, like millions of Americans, does

not believe that the 2020 General Election was as secure as CISA or Attorney General Barr would

have the country believe. Both issued their statements just weeks after the election without the

benefit of subsequent extensive investigations. And it isn’t just a fringe group that is pushing some

ill-conceived narrative—state legislatures are continuing an investigation into the 2020 General

Election and have even begun introducing legislation to recall their electors. See Exhibits A and

B. Putting aside the fact that, as discussed below, this lawsuit is not seeking to overturn an election,

but instead has been filed to protect Lindell’s right to free speech on that subject, including about

topics that are not popular in the mainstream media, Lindell provided 37 pages and 57 paragraphs

of allegations regarding machine fraud that had 90 citations to 72 independent sources of

information. See Complaint ¶¶ 68-124. To claim that there was no reasonable investigation lacks

credulity.

       While Smartmatic clearly takes issue with Dr. Douglas Frank’s analysis, their claim that

reliance upon Dr. Frank is sanctionable is baseless. Lindell is not the only person to rely on Dr.

Frank’s election analysis. Wisconsin Rep. Tim Ramthun cites to Dr. Frank’s work on his website.

See https://legis.wisconsin.gov/assembly/59/Ramthun/evidence/.            And Dr. Frank regularly

testifies before election commissions, state legislative committees and others about his work.

Smartmatic’s articles contradicting Dr. Frank are fodder for challenging him at a deposition or




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trial; they do not conclusively establish that reliance on Dr. Frank is per se unreliable or that

Lindell’s reliance upon Dr. Frank is sanctionable.

       Smartmatic sets up another strawman claiming that Lindell alleges “China owns

Smartmatic.” The sentence cited by Smartmatic—that “In other words, by the time of the 2020

election, Chinese government-related entities, Chinese technology companies, and powerful

Chinese financial interests had direct or indirect ownership of and near-total access to Dominion’s

and Smartmatic’s voting machine technology”—is the conclusion to a 15-page, 18-paragraph

section of Lindell’s Complaint, supported by 39 citations to 26 different sources, to show the

interconnection of Dominion, Smartmatic and China. See Complaint ¶¶ 50-67. Smartmatic’s

citation to its own website to claim that all of this is false does not render Lindell’s extensively

investigated and supported contention sanctionable.

       2.      Lindell’s Legal Theories Are Sound.

       Lindell’s claims are warranted by existing law or at the very least are supported by a

nonfrivolous argument for extending existing law to stop Smartmatic’s use of Lawfare to silence

critics with which it disagrees. Smartmatic’s arguments in support of its motion for sanctions

based on Fed. R. Civ. P. 11(b)(2) are merely a rehash of the arguments in its Motion to Dismiss

(Dkt. No. 94). Lindell has responded in detail to that motion, citing more than 113 cases along

with numerous statutes, rules and other materials. See Response, at iv-xii. Lindell’s claims are

neither futile nor frivolous, and Lindell intends to pursue his claims to final vindication. Lindell

incorporates by reference as if fully set forth herein the entirety of his response to Smartmatic’s

Motion to Dismiss, and for the sake of economy, will not repeat verbatim its arguments here, but

instead offers a brief response to Smartmatic’s claims of frivolousness.




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               a.      Lindell’s Civil Conspiracy Claim Is Not Frivolous.

       Lindell has sufficiently pled a valid, non-frivolous cause of action for civil conspiracy

against Smartmatic. See Complaint ¶¶ 1, 15–17, 20–21, 36, 50, 55–67, 112, 126, 129, 136, 137–

40, 166; Response, at 14-19. In addition to their parallel conduct of threatening and suing

dissenting voices, see Complaint ¶¶ 11, 16, 40, 60, 63, 125-26, 129, 131, 136-37, 145, 165, Lindell

alleged facts showing Smartmatic and Dominion’s shared corporate history and prior business

relationship preceded the current conspiracy. See Complaint ¶¶ 14-17, 60. Lindell further alleged

an ongoing business relationship and shared employees. Id. at ¶¶ 17, 62.

       Courts may infer the existence of a conspiracy from indirect evidence, including the

existence of an agreement if the plaintiff alleges facts showing co-conspirators engaged in parallel

conduct and had a preexisting relationship. Kurd v. Republic of Turkey, 374 F. Supp. 3d 37, 52

(D.D.C. 2019) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007)). Contrary to

Smartmatic’s argument, Lindell was not required to allege explicit or implicit communications

among co-conspirators. Id. Instead, “allegations concerning the defendants’ proximity to each

other and parallel activities alone” can justify inferring “an agreement or meeting of the minds

amongst the defendants.” Barber v. D.C. Gov’t, 394 F. Supp. 3d 49, 66 (D.D.C. 2019).

               b.      Lindell’s Section 1985(3) And Section 1983 Claims Are Not Frivolous.

       Lindell has sufficiently pled a valid, non-frivolous cause of action for violations of 42

U.S.C. § 1985(3),4 against Smartmatic. See Response, at 3-14, 36-45.




4
  Litigants like Smartmatic have long confused § 1985(3)’s Equal Protection Provision (which is
the first clause) and Support or Advocacy Clause (which is the second clause) to require elements
of one for the other. Lindell has not pled that Smartmatic violated the Equal Protection Provision
under § 1985(3).


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         Lindell sufficiently pled a Section 1985(3) claim under the Support or Advocacy Clause,

which requires: (1) a conspiracy; (2) the purpose of which is to force, intimidate, or threaten; (3) an

individual legally entitled to vote who is engaging in lawful activity related to voting in federal

elections. Nat’l Coal. on Black Civic Participation v. Wohl, 498 F. Supp. 3d 457, 487 (S.D.N.Y.

2020).

         The Reformation Act of 1871 (“Act”) was not only intended to address racial

discrimination. Rather, after receiving reports of violence and intimidation from Republican

citizens in the Reconstruction South, President Grant sought legislation to “effectively secure life,

liberty, and property, and the enforcement of law in all parts of the United States.” The Support

or Advocacy Clause of § 1985(3), 133 Harv. L. Rev. 1389 (2020) (quoting Cong. Globe, 42d

Cong., 1st Sess. 244 (1871) (hereinafter “Harv. L. Rev.”)). There is nothing about the Act that

prevents Lindell from suing Smartmatic for violating the Act.                 The “Act was not an

antidiscrimination statute. Its drafters intended to proscribe conspiracies having the object or

effect of frustrating the constitutional operations of government through assaults on the person,

property, and liberties of individuals.” Mark Fockele, A Construction of Section 1985(c) in Light

of Its Original Purpose, 46 U. Chi. L. Rev. 402, 403 (1979); see also McCord v. Bailey, 636 F.2d

606, 615 (D.C. Cir. 1980) (“[C]ongressional concerns encompassed more than racial equality or

personal rights. The operation of government, especially the federal government, was threatened.

Civil survival was at stake.”).

         Lindell also alleged sufficient facts to state a claim against Smartmatic for violations of his

First, Fifth, and Fourteenth Amendment rights under 42 U.S.C. § 1983. Complaint ¶¶ 6, 16, 36,

39–40, 43, 50, 53–54, 63, 137–39, 169–79. Smartmatic subjected itself to liability under § 1983

when it publicly boasted it was going to sue Lindell for defamation and disparagement for speech




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related to the 2020 General Election. Complaint ¶¶ 16, 169–79; see also Motion to Dismiss, at 1-

2 n.3.

         Smartmatic’s primary argument is that it is not a state actor, but Lindell has extensively

briefed the bases under which this Court should determine that Smartmatic was and is a state actor.

A private entity like Smartmatic may be deemed a state actor when the government has outsourced

one of its constitutional obligations to it (West v. Atkins, 487 U.S. 42, 56 (1988)) or when a private

entity conducts a “traditional, exclusive public function,” (Manhattan Cmty. Access Corp. v. Hal-

leck, 139 S.Ct. 1921, 1945 (2019)); Complaint ¶¶ 54, 169–79. Lindell has pled sufficient facts to

meet the test under West, by showing: (1) the violation of a right secured by the Constitution and

laws of the United States; (2)(a) the deprivation of Lindell’s right is based on 2(a)(i) a rule or

privilege created by the state; 2(a)(ii) a rule of conduct imposed by the state; or 2(a)(iii) because

the state was responsible for Smartmatic; and (2)(b) Smartmatic is a state actor because (2)(b)(i)

it is a state official; (2)(b)(ii) it acted together with or obtained significant aid from state officials;

or (2)(b)(iii) because its conduct is otherwise chargeable to the state. West, 487 U.S. at 54. Lindell

has likewise pled sufficient facts to meet the test under Halleck by showing that Smartmatic per-

formed a traditionally and exclusively public function of the government. See Halleck, 139 S.Ct.

at 1928–29.

                c.      Lindell’s RICO Claim Is Not Frivolous.

         Lindell has sufficiently pled a valid, non-frivolous cause of action for RICO violations

against Smartmatic. See Response, at 19-36. “RICO is to be read broadly.” Safe Str. All. v.

Hickenlooper, 859 F.3d 865, 881 (10th Cir. 2017) (quoting Sedima, S.P.R.L. v. Imrex Co., 473

U.S. 479, 497 (1985)). Smartmatic’s primary complaint—that Lindell failed to allege a proper

predicate act—is unavailing. Lindell properly pled extortion, witness tampering and mail fraud.




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       While Smartmatic argues that litigation cannot be extortion under RICO, “case law

recognizes that litigation may constitute extortion where the ‘victim of the extortionate activity

had a preexisting right to be free from the threats invoked.’” La Suisse, Societe D’Assurances Sur

La Vie v. Kraus, No. 06 CIV. 4404 CM GWG, 2014 WL 3610890, at *9 (S.D.N.Y. July 21, 2014)

(quoting United States v. Tobin, 155 F.3d 636, 640 (3d Cir. 1998)) (emphasis added).

       Thematically on-point, Smartmatic mischaracterizes Lindell’s allegations, contending

“abusive or sham litigation does not constitute witness tampering under § 1512 . . .” Motion to

Dismiss, at 30. But Lindell does not allege Defendants are tampering with and intimidating

witnesses by abusive or sham litigation. Complaint ¶ 158. Rather, Lindell alleges the witnesses

are being tampered with and intimidated by letters containing false allegations and threats of

“imminent litigation” if the witnesses come forward with information about the irregularities

observed during the 2020 General Election or, in the case of Lindell and others, if they speak

publicly about the vulnerabilities of electronic voting machines and software to hacking and

manipulation. Id. Where other misconduct was also part of the scheme, Courts have held

allegations including sham or baseless litigation adequately allege a RICO predicate act. See, e.g.,

Feld Ent. Inc. v. Am. Soc’y’ for the Prevention of Cruelty to Animals, 873 F. Supp. 2d 288, 318

(D.D.C. 2012) (holding plaintiff’s allegations of sham litigation sufficient where they also alleged

entire lawsuit was based on bribery of lead plaintiff and witness).

       Lindell’s mail fraud allegations are also viable. “RICO provides a private right of action

for treble damages to any person injured in his business or property by reason of the conduct of a

qualifying enterprise’s affairs through a pattern of acts indictable as mail fraud.” Bridge v. Phoenix

Bond & Indem. Co., 553 U.S. 639, 647 (2008). “Mail fraud, in turn, occurs whenever a person,

‘having devised or intending to devise any scheme or artifice to defraud,’ uses the mail ‘for the




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purpose of executing such scheme or artifice or attempting to do so.’” Id. (quoting 18 U.S.C. §

1341). “The gravamen of the offense is the scheme to defraud, and any ‘mailing that is incident

to an essential part of the scheme satisfies the mailing element’ … even if the mailing itself

‘contains no false information.’” Id. (quoting Schmuck v. United States, 489 U.S. 705, 712 & 715

(1989)).

       3.      Lindell’s Filed Suit To Protect His Freedom Of Speech.

       Mike Lindell has been forthright and consistent regarding the reasons he sued Smartmatic:

       Mike Lindell brings this lawsuit to stop electronic voting machine companies and
       their co-conspirators from weaponizing the litigation process to silence political
       dissent and suppress evidence showing voting machines were manipulated to affect
       outcomes in the November 2020 General Election. Complaint ¶ 1.

       Smartmatic claims Lindell’s lawsuit does not seek to “‘safeguard voting rights’ and
       strengthen our democracy,” Motion at 13, yet that is the very purpose of this
       lawsuit—to safeguard voting rights and strengthen democracy from those who seek
       to weaken it by conspiring to silence speech, dissent, and opposition to the use of
       electronic voting machines in the 2020 General Election and the machines’
       vulnerability to cyber-attacks and election tampering. Complaint ¶ 1. Response, at
       39-40.

       There is absolutely nothing untoward about these reasons, and certainly nothing

sanctionable Fed. R. Civ. P. 11(b)(1). Smartmatic recognizes that “[t]he judicial system would

serve little purpose if parties who believe they are aggrieved cannot file a lawsuit to address

grievances.” See Motion to Dismiss, at 3.

       The fact that Lindell’s out-of-court statements are consistent with his pleading isn’t

sanctionable—to the contrary, if Lindell pled facts that were wholly inconsistent with his out-of-

court statements, or unsupported by any evidence, that might rise to the level of sanctions. But

this case does not. And Smartmatic’s false and repugnant allegations tying Lindell to January 6

are salacious, but in no way do they support sanctions against Lindell.




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       Smartmatic clearly disagrees with what Lindell has said about Dominion, electronic voting

machines, the 2020 General Election and Smartmatic itself. And it has sued Lindell to silence

him, just as it and Dominion—state actors who helped run the 2020 General Election—have sued

others. Their campaign of lawfare has now come home to roost, and Lindell has sued to end their

tyranny with respect to what Lindell is allowed to say about the 2020 General Election.

B.     The Smartmatic Complaint Was Procedurally Proper.

       Instead of joining the other parties’ agreed briefing schedule regarding motions to dismiss

Lindell’s Complaint, Smartmatic chose to create a procedural quagmire by preemptively filing its

Motion to Dismiss. Despite Smartmatic’s baseless arguments to the contrary, the Complaint

clearly comports with the Federal Rules of Civil Procedure and the Court’s orders managing the

logistics and procedural posture of the case.

       Lindell originally filed affirmative claims against Smartmatic in the District of Minnesota

alleging both Smartmatic and Dominion committed RICO violations and conspiracy. See Case

No. 21-cv-1332, Dkt. No. 1. That suit was transferred to this Court as Case No. 21-cv-2296.

Dominion filed a motion to stay Lindell’s lawsuit, which on October 18, 2021, the Court granted,

staying the entire “case”—not only Lindell’s claims against Dominion. See Case No. 21-cv-2296,

Dkt. No. 78 and at Oct. 18, 2021, Minute Order (“It is hereby ORDERED that the case will remain

stayed….”) (emphasis added). Instead of abiding by the stay, Smartmatic moved to dismiss

Lindell’s claims on October 27, 2021. See Case No. 21-cv-2296, Dkt. No. 81. Understanding the

case was stayed, Lindell sought the Court’s guidance about his obligations to respond to that

motion. See Case No. 21-cv-2296, Dkt. No. 82. On November 10, the Court issued a minute order

stating Lindell should respond to Smartmatic’s motion by December 1, 2021, and that a

forthcoming order would clarify deadlines in several pending cases. See Case No. 21-cv-2296,

Nov. 10, 2021 Minute Order.


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       On November 15, 2021, the Court entered an Order in 5 cases including this case (which,

at that time, only included Dominion’s affirmative claims against Lindell and MyPillow) and Case

No. 21-cv-2296 (the only case where Lindell asserted affirmative claims against Dominion and

Smartmatic). See Dkt. No. 85; Case No. 21-cv-2296, Dkt. No. 84. That Order stated, “[t]he

Plaintiffs in both Lindell v. US Dominion, Inc., et al., 21-cv-2296 … shall coordinate and refile

their affirmative claims as counterclaims in US Dominion, Inc. et al. v. My Pillow, Inc. et al., 21-

cv-445, on or before December 2, 2021.” Id. at ¶ 2 (emphasis added). The Court further noted its

intention “to dismiss Lindell v. US Dominion, Inc., et al., 21-cv-2296 . . . once the affirmative

claims have been so filed.” Id. at n.1 (emphasis added). That same day, the clerk entered the

following on PACER: “Set/Reset Deadlines: Affirmative Claims and counterclaims due by

12/2/2021.” Case No. 21-cv-2296 at Nov. 15, 2021 entry (emphasis added). Out of an abundance

of caution, Lindell filed the Complaint (Dkt. No. 87) and Rule 41 Notice of Voluntary Dismissal

of Case No. 21-cv-2296 on December 1, 2021. See Case No. 21-cv-2296, Dkt. No. 85.

       Smartmatic’s “Procedural History” ignores three key points from this Court’s November

15 Order and docket entries:

       1. The Court ordered Lindell to file his “affirmative claims” into this action. See Dkt. 85;
          Case No. 21-cv-2296, Dkt. 84 at ¶ 2;
       2. The Court said it would dismiss the entire case containing Lindell’s affirmative claims
          against Smartmatic. See Dkt. 85; Case No. 21-cv-2296, Dkt. 84 at n.1; and
       3. The Court notified the parties that both “affirmative claims” and counterclaims were
          due by 12/2/2021. See Case No. 21-cv-2296 at Nov. 15, 2021 entry.

       Instead, Smartmatic’s interpretation of the November 15 Order assumes the Court had

already decided Lindell’s claims against Smartmatic should be dismissed by making it impossible

for Lindell to file his claims. The Court’s orders regarding the filing of Lindell’s affirmative claims

against Smartmatic, however, render that interpretation incorrect.




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       The Complaint is consistent with this Court’s orders and the Federal Rules of Civil

Procedure. Lindell did not previously file an Answer to Dominion’s lawsuit against him, no

deadline for joinder of additional parties existed, and Lindell made no affirmative claims against

Smartmatic in this case; accordingly, it was procedurally sound for Lindell to file his claims against

Smartmatic as an “Original Third-Party Complaint” included in his Original Answer to

Dominion’s claims. Fed. R. Civ. P. 15 has nothing to do with that pleading other than to set a

December 29, 2021 deadline for Lindell to amend his claims against Smartmatic. Further, Fed. R.

Civ. P. 41(a)(1)(A)(i) authorized Lindell to dismiss his claims against Smartmatic because

Smartmatic had not filed an answer or motion for summary judgment. And, pursuant to Fed. R.

Civ. P. 41(a)(1)(B), that dismissal is without prejudice, further supporting the propriety of

Lindell’s Complaint. Lindell has not violated this Court’s orders or the Rules.

C.     The Sanctions Sought By Smartmatic Are Unwarranted And Overreaching.

       Standing alone, the dearth of meritorious legal and factual arguments within Smartmatic’s

Motion is troubling.     These concerns, however, are further compounded by Smartmatic’s

unfounded and overreaching request for relief, particularly the request for disgorgement of

Lindell’s counsel’s attorneys’ fees. Not surprisingly, Smartmatic only cited the bare minimum of

legal authority in support of its outlandish request. But the persuasive value of that minimal

authority evaporates under closer scrutiny. First, the reliance on Joseph, Sanctions: The Federal

Law of Litigation Abuse § 16, is entirely misplaced and circular. The entirety of section 16 of the

treatise cites but a single case on disgorgement, Upchurch, v. O’Brien, et al., No. 19-CV-165-

WMC, 2021 WL 3617098 (W.D. Wis. Aug. 16, 2021), which in turn relies on Joseph, which

otherwise is silent on the matter. The lack of authority in Joseph actually weighs against rather

than supports Smartmatic’s request.




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       Second, the fact pattern in Upchurch was uniquely outrageous and does not bear even a

tenuous connection to the instant case. Upchurch, a 2021 Wisconsin district court slip opinion,

involved a multi-year campaign of harassment by the plaintiff, including theft and felony stalking,

against the owners of a neighboring resort. The lawsuit was but another step during the campaign,

as Upchurch alleged that he was unlawfully denied access to a nearby lake per an easement in his

property deed, and Upchurch’s counsel averred to having reviewed the deed, transcripts, and

witness statements supporting the claims. Id. at 4–5. Incredibly, in response to the sanctions

motion, Upchurch’s attorney finally admitted that he filed the lawsuit with full knowledge that the

deed was not in Upchurch’s name, which was the only vehicle to any cause of action Upchurch

may have had. Id. at 7–8. By filing a knowingly false lawsuit, Upchurch’s attorney, an officer of

the court who must follow the rules of professional conduct and ethics generally, clearly committed

a fraud on the court. Upchurch’s attorney also persisted with causes of action that he knew were

unsupported and baseless. Id. at 8. Although Smartmatic may disagree with the evidence Lindell

cites regarding the merits of his claims and erroneously believe that a dismissal is warranted, there

is not, nor can there be, a contention that Lindell’s counsel knowingly filed baseless claims

unsupported by any evidence whatsoever. To the contrary, Lindell’s Complaint contains more

than 130 pieces of evidence and relies on law to support the propositions contained therein. See

§III.A above.

       Neither of Smartmatic’s two other cases address disgorgement of fees. Markwell v. Cnty.

Of Bexar, 878 F.2d 899 (5th Cir. 1989), involved an attorney, Myers, who filed two frivolous

motions against a plaintiff, who was without counsel due to disqualification, during the period the

court had stayed all motions while plaintiff searched for new counsel. Id. at 902. Myers also tried

to unethically initiate settlement discussions. Id. at 900. Meanwhile, the judge ordering the




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sanction previously sanctioned Myers on four separate occasions the prior year for his pleading

tactics, and another had warned Myers that his “shotgun approach to pleading was treading close

to forbidden Rule 11 territory.” Id. Midlock v. Apple Vacations W., Inc., 406 F.3d 453 (7th Cir.

2005), is likewise merely an example of an attorney flagrantly disregarding prior court orders, as

counsel therein improperly removed a case twice, the second time to a different district than the

first, admittedly in the impermissible hope of obtaining a second opinion on removability. Id. at

456. Nevertheless, despite this egregious conduct, the court did not order the disgorgement of

fees, instead imposing a fine and ordering payment of fees incurred by opposing counsel. Id. at

455.

       A sanction is not supposed to punish or “send a strong, unmistakable message.” Motion,

at 39. Instead, the law is clear and consistent that a court should only award the least severe

sanction adequate to serve the purpose for which the sanction is being imposed. Hilton Hotels

Corp. v. Banov, 899 F.2d 40, 46 (D.C. Cir. 1990). Smartmatic does not request an adequate

sanction, but rather a draconian one. Clearly, Smartmatic’s goal is not to protect the judicial

system or our democracy, but rather its selfish interests to quiet discourse and intimidate anyone

that dare question its conduct. Deterring any American from seeking justice in our nation’s

courthouses is the actual conduct that debases our judicial system, not Lindell’s lawsuit.

D.     Smartmatic Blatantly Misrepresents Lindell’s Allegations Against It and The
       Holdings of Other Courts.

       Contrary to what Smartmatic wants this Court to believe, Lindell’s causes of action against

it and the other defendants in this case have not been adjudicated anywhere in a court of law.

Indeed, Lindell is a defendant in this case brought by Dominion and in another brought by




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Smartmatic5 for allegedly defaming them. None of the 2020 General Election cases cited by

Smartmatic pled facts and expert testimony as alleged in the Complaint—much less had these

particular facts and evidence adjudicated on the merits. The fact that Smartmatic disputes Lindell’s

evidence does not mean Lindell’s defenses and counterclaims/third party claims are sanctionable.

Lindell is entitled to his day in court.

          1.     The Cases Relied On By Smartmatic Are Not Remotely Similar To The Claims
                 And Factual Predicates Pled In The Complaint.

          As detailed above, Lindell’s counterclaims/third-party claims relate to Smartmatic and

other Defendants attempting to silence and suppress Lindell’s and others’ speech. Lindell does

not have a fraud claim, nor does Lindell seek in this lawsuit to decertify any election results.

Despite that, Smartmatic continually cites more 2020 General Election cases where Plaintiffs

sought, inter alia, preliminary injunctions, decertification of election results and fraud, and who

were sanctioned for a variety of reasons, none of which are relevant to this case and Lindell’s

claims.

          The first case Smartmatic cites for the leveling of sanctions against an attorney, Wisconsin

Voters Alliance v. Pence, 514 F. Supp.3d 117 (D.D.C. 2021), has no relationship to this case

whatsoever, either by extension or analogy. Plaintiffs, voter groups and individual voters from the

states of Wisconsin, Pennsylvania, Georgia, Michigan, and Arizona, brought suit against Vice

President Michael R. Pence, in his official capacity as President of the Senate; both houses of

Congress and the Electoral College itself; and various leaders of the five aforementioned states.

514 F. Supp.3d at 119. Plaintiffs asked the Court to “declare unconstitutional several decades-old

federal statutes governing the appointment of electors and the counting of electoral votes for



5
 On January 18, 2022, Smartmatic sued Lindell for defamation in Minnesota. Smartmatic et al v.
Michael Lindell et al, 0:22-cv-00098-WMW-JFD (D. Minn.).


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President of the United States; to invalidate multiple state statutes regulating the certification of

Presidential votes; to ignore certain Supreme Court decisions; and, the coup de grace, to enjoin

the U.S. Congress from counting the electoral votes on January 6, 2021, and declaring Joseph R.

Biden the next President.” Id. at 118. The court held that “[i]n addition to being filed on behalf

of Plaintiffs without standing and (at least as to the state Defendants) in the wrong court and with

no effort to even serve their adversaries, the suit rests on a fundamental and obvious misreading

of the Constitution.” Id. at 119. The court subsequently sanctioned the attorney for bring the

lawsuit. See Wisconsin Voters Alliance v. Pence, No. CV 20-3791 (JEB), 2021 WL 686359

(D.D.C. Feb. 19, 2021). There are no similarities between the parties in Wisconsin Voters Alliance

and the case before this Court, no similarities in the causes of action pled, no similarities in the

operative facts alleged and no similarities in the relief sought by Lindell.

       Next, Smartmatic cite to In the Matter of Giuliani, 146 N.Y.S.3d 266 (N.Y. App. Div.

2021), wherein the Supreme Court, Appellate Division suspended Giuliani’s law license. That

attorney disciplinary matter has no bearing on Lindell’s counterclaims/third party claims against

Smartmatic and the other Defendants in this matter. Giuliani was involved in numerous lawsuits

around the country related to election fraud and decertifying the 2020 General Election results.

146 N.Y.S.3d at 272-73 (citing e.g. Donald J. Trump for President, Inc. v. Boockvar, 502

F.Supp.3d 899, aff’d, 830 Fed. Appx 377 (3d Cir. 2020)). The opinion is extensive with respect

to the allegations and findings of Giuliani violating the Rules of Professional Conduct. The

opinion, however, is an attorney grievance case, which does not relate to Lindell’s

counterclaims/third party claims for damages caused by Smartmatic and other Defendants attempts

to silence and suppress Lindell’s speech.




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        The sanctions in O'Rourke v. Dominion Voting Sys. Inc., No. 20-CV-03747-NRN, 2021

WL 3400671, at *1 (D. Colo. Aug. 3, 2021), modified on reconsideration, No. 20-CV-03747-

NRN, 2021 WL 5548129 (D. Colo. Oct. 5, 2021) fundamentally stemmed from the plaintiffs

purportedly representing 160 million registered voters alleging a vast conspiracy between “four

governors, secretaries of state, and various election officials of Michigan, Wisconsin, Pennsylvania

and Georgia; along with Dominion, a private supplier of election and voting technology; the social

media company Facebook; CTCL, a non-profit organization dedicated to making elections more

secure and inclusive; as well as Facebook founder Mark Zuckerberg and his wife Priscilla Chan.”

2021 WL 3400671 *2. The court dismissed the case and issued sanctions finding there was no

good faith basis for asserting that plaintiffs had standing to sue, there was no good faith basis for

asserting personal jurisdiction over the State Official Defendants, the scope of counsel’s inquiry

into the facts was not reasonable under the circumstances, and counsel acted in bad faith and

attempted to mislead the court. Id. at *24-34. As detailed in this Response and Lindell’s Response

to Smartmatic’s Motion to Dismiss (“Response”) (Dkt. No. 104), none of these findings by the

court in O’Rourke apply to Lindell or his counsel in filing the counterclaims/third party claims in

this case.

        Finally, in King v. Whitmer, after the court dismissed plaintiffs’ case (discussed below), it

issued a lengthy opinion leveling sanctions against Plaintiffs’ attorneys. See King v. Whitmer, No.

20-13134, 2021 WL 3771875, at *1 (E.D. Mich. Aug. 25, 2021). The court held, inter alia, that

counsel’s claims were not warranted by existing law or a nonfrivolous argument extending existing

law, counsel claimed acts or events violated Michigan election law when it did not, counsel failed

to inquire into the requirements of Michigan election law, and counsel did not have evidentiary




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support for factual allegations. 2021 WL 3771875, at *20-32. By contrast, Lindell’s claims are

supported with facts and law, as shown in this Response and in Lindell’s.

       2.      Lindell’s Counterclaims/Third-Party Claims Are About Protecting Free
               Speech, Not Overturning the 2020 General Election.

       Smartmatic takes great liberty with a couple of instances in which the word “rigged” is

used within the counterclaims/third party claims in an effort to mislead the court into believing

Lindell is seeking through this lawsuit to overturn the 2020 General Election. Motion, at 2-3. He

is not; he is defending his First Amendment right to speak publicly about issues of vital importance

like election integrity without being bludgeoned by ruinous litigation. This case is not even

remotely similar to the 2020 General Election cases that attempted to decertify the election. As

stated in his Complaint, in the paragraph prior to detailing his causes of action, Lindell brought his

counterclaims/third party claims “to put an end to Dominion’s and Smartmatic’s campaign of

‘Lawfare’ against those who criticize their electronic voting machines or who question their role

in the indisputably suspect conduct of the 2020 General Election.” Complaint ¶ 140. Smartmatic

wants the Court to be the word police and sanction Lindell and his counsel for simply using words

and phrases instead of looking at the causes of action Lindell actually pled and the evidentiary

support cited in the Complaint.

       Lindell’s counterclaims/third-party claims against Smartmatic include the following

Counts: (III) violation of the Racketeer Influenced and Corrupt Organization Act, 18 U.S.C. §

1962, along with Dominion Defendants and HPS; (IV) violation of Lindell’s rights under the Sup-

port and Advocacy clause of 42 U.S.C. §1985(3), along with Dominion Defendants and HPS; (V)

violation of Equal Protection Clause of the United States Constitution and under the Due Process

Clause of the Fifth and Fourteenth Amendments to the United States Constitution, along with Do-

minion; (VI) violation of Lindell’s rights under the First and Fourteenth Amendments of the United



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States Constitution, along with Dominion; and (VII) civil conspiracy against all Defendants for

their collusion and agreement to the common objective or course of action, acting under color of

state law, to deprive Plaintiff Lindell of his constitutional rights under the First Amendment, and

their overt acts in connection with that common purpose. See Complaint §§ 152-183. Lindell

seeks monetary relief for Smartmatic’s violations. Lindell does not seek an injunction to stop

certification of an election or to decertify election results. These are novel claims. No court has

addressed them in the context of the 2020 General Election.

       There are no similarities between Lindell’s claims and the cases cited by Smartmatic. In

King v. Whitmer, 505 F. Supp. 3d 720 (E.D. Mich. 2020), neither Lindell, Dominion, nor Smart-

matic were parties to the case. On November 25, 2020, the plaintiffs in King, registered Michigan

voters and nominees of the Republican Party to be Presidential Electors on behalf of the State of

Michigan, sought the extraordinary relief of a temporary injunction and asked the Court to:

        (a) order Defendants to decertify the results of the election; (b) enjoin Secretary Benson
       and Governor Whitmer from transmitting the certified election results to the Electoral Col-
       lege; (c) order Defendants “to transmit certified election results that state that President
       Donald Trump is the winner of the election”; (d) impound all voting machines and software
       in Michigan for expert inspection; (e) order that no votes received or tabulated by machines
       not certified as required by federal and state law be counted; and, (f) enter a declaratory
       judgment that mail-in and absentee ballot fraud must be remedied with a manual recount
       or statistically valid sampling.

King, 505 F.Supp.3d at 730. The court denied Plaintiffs’ motion for a temporary injunction on

numerous grounds, including Eleventh Amendment Immunity, mootness, laches, and lack of

standing. In reviewing Plaintiffs’ affidavits submitted with their complaint, the court found, “the

closest Plaintiffs get to alleging that physical ballots were altered in such a way is the following

statement in an election challenger’s sworn affidavit: ‘I believe some of these workers were chang-

ing votes that had been cast for Donald Trump and other Republican candidates.’” Id. at 738.

Contrary to Smartmatic’s sweeping assertion that King “rejected allegations that cast doubt on the



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electoral results,” the court held such affidavit evidence fell “far short of what is required to obtain

any relief, much less the extraordinary relief Plaintiffs request.” Compare id. at 738 with Motion

at 3. As a result, the court’s findings in King have no bearing on Lindell’s counterclaims/third-

party claims, which differ entirely from the plaintiffs’ claims in King.

       Similarly, Smartmatic’s reliance on Bowyer v. Ducey, 506 F. Supp. 3d 699 (D. Ariz. 2020)

as controlling authority on Lindell’s claims here is also misplaced. Like in King, none of the parties

in this lawsuit were in Bowyer. See 506 F.Supp.3d at 707. The plaintiffs in Bowyer also sought a

TRO to “contest” the Arizona election and asked the court to compel the Arizona Governor to “de-

certify” the results and “a permanent injunction ‘enjoining Secretary Hobbs and Governor Ducey

from transmitting the currently certified election results to the Electoral College,’ declare the elec-

tion results unconstitutional, and seize all voting machines, equipment, software, and other elec-

tion-related records and materials, including all ballots cast.” Id. at 706-07. Lindell requests no

such relief in this lawsuit. The Bowyer plaintiffs’ complaint included four causes of action for

violations of Constitution’s Elections and Electors Clauses, as well as the Fourteenth Amend-

ment’s Due Process and Equal Protection guarantees, and a “cause of action” for “Wide-Spread

Ballot Fraud.” Id. at 707. The court dismissed the first three claims due to a variety of reasons,

including lack of Article III standing, abstention, Eleventh Amendment immunity, laches and

mootness. See id. at 708. With respect to the Bowyer plaintiffs’ “fraud” claim, the court dismissed

it for failure to particularly plead fraud. Id. at 723. The allegations, causes of action, parties, and

court holdings in Bowyers are entirely different than Lindell’s counterclaims/third-party claims

which seek damages from Smartmatic and the other Defendants who want to use litigation and

threats of litigation to silence and suppress Lindell’s speech.




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       Finally, Smartmatic’s citation to Donald J. Trump for President, Inc. v. Sec’y of Pa., 830

F. App’x 377 (3d Cir. 2020) for the proposition that “in several instances, courts squarely rejected

allegations that cast doubt on the electoral results” is puzzling. Motion, at 3. In that case, the

appellate court ruled on a very narrow issue, whether the district court abused its discretion in not

letting the Trump Campaign amend its complaint a second time. Donald J. Trump for President,

Inc., 830 F. App’x at 382. The procedural history of the case was complicated, but in short, the

Trump Campaign sought a preliminary injunction to block certifying the Pennsylvania election

results, which the district court denied. Id. at 384-85. The court dismissed its claims for a variety

of reasons, including no specific discrimination and lack of standing under the Election and

Electors clauses. Id. at 389. The Donald J. Trump for President case simply bears no rational

comparison to Lindell’s claims against Smartmatic.

       3.      Neither Lindell Nor His Counsel Has Defied Any Court’s Ruling on Election
               Fraud or Sanctions—Lindell Filed His Counterclaims/Third Party Claims to
               Prevent Smartmatic and Defendants from Trying to Suppress Free Speech.

       Smartmatic’s allegation that Lindell’s causes of action defy courts’ “rulings rejecting

election fraud, and … rulings issuing sanctions” is fantastical. See Motion, at 6. As discussed in

the two previous sections, Lindell’s claims relate to Smartmatic and other Defendants attempting

to silence and suppress Lindell’s speech. Indeed, Smartmatic seems to acknowledge as much in

its bullet points summaries in its Motion. Motion, at 7-8 (“In Count IV, Mr. Lindell alleges that

Smartmatic conspired with Dominion to ‘silence’ those who…”; “In Count V, Mr. Lindell alleges

that Smartmatic and Dominion used litigation to ‘suppress’ his…”; “In Count VI, Mr. Lindell

alleges that Smartmatic and Dominion retaliated against him for…”; “In Count VII, Mr. Lindell

alleges that Smartmatic conspired with Dominion to ‘silence his views…’”; and “In Count III, Mr.

Lindell alleges that Smartmatic violated RICO because Dominion sent cease-and-desist letters…”)




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(emphasis added). No court has ruled on any such causes of action related to the 2020 General

Election.

       But, while acknowledging generally that Lindell’s causes of action relate to speech

silencing, suppression, and retaliation, Smartmatic fails to give context to the quoted statements it

lifted from the Complaint, thereby creating a misleading narrative that Lindell’s causes of action

are based on fraud and manipulation. See Motion at 7-8. They are not. The causes of action relate

to free speech. For example, in Count IV, which is seven detailed paragraphs long (Complaint ¶¶

162-68), Lindell alleges that

       the Dominion Defendants, the Smartmatic Defendants, and HPS, with the assistance and
       participation of nonparty co-conspirator Clare Locke, had a meeting of the minds to agree
       on the common purpose of silencing speech, dissent, and opposition to the use of electronic
       voting machines in the 2020 General Election and the exposure of such machines’
       vulnerability to cyber-attacks and election tampering.

Complaint ¶ 166. Rather than quoting the cause of action accurately, Smartmatic lifts two clauses

from separate sentences, eight lines apart in Paragraph 166 to arrive at its distorted, inaccurate

summary. Smartmatic’s summary provides,

       Mr. Lindell alleges that Smartmatic conspired with Dominion to “silence” those who
       promoted “an effort to determine the legitimate votes cast for each Presidential candidate
       in each of the key swing states, in light of the numerically improbable overnight lead
       change from Trump to Biden” and “significant potential that [voting technology]
       vulnerabilities were exploited in certain jurisdictions to artificially cost President Trump
       the election.”

Motion, at 7 (emphasis added). Yet, the two italicized clauses are part of a much larger allegation

about speech suppression and voting technology. Paragraph 166 of the Complaint actually

provides:

       The real purpose of the conspiracy was to silence those like Lindell who supported
       President Donald J. Trump and advocated for investigations into voting machine fraud (and
       other types of election fraud) in an effort to determine the legitimate votes cast for each
       Presidential candidate in each of the key swing states, in light of the numerically
       improbable overnight lead change from Trump to Biden in those states in the wee hours of
       November 4, 2020. Importantly, as noted above, upon information and belief, not one


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          democrat or left-leaning media organization has been threatened or sued by Dominion or
          Smartmatic based on their years of reporting vulnerabilities in election machines and
          software. The Dominion Defendants, the Smartmatic Defendants, and HPS determined to
          carry out this conspiracy through a coordinated campaign of lawfare—weaponizing the
          court system and litigation process to threaten, intimidate, and force private citizens like
          Lindell into silence and retract their public statements regarding opposition to the use of
          electronic voting machines and their vulnerabilities, and the significant potential that such
          vulnerabilities were exploited in certain jurisdictions to artificially cost President Trump
          the election in key swing states.

Complaint ¶ 166 (emphasis added). The italics is what Smartmatic quoted, but it ignored the

underlined text to give the Court a false narrative. As easily seen, Smartmatic’s narrative is wholly

misleading.

          As another example, Smartmatic incompletely quotes the allegations in Count V when it

states,

          Mr. Lindell alleges that Smartmatic and Dominion used litigation to “suppress” his “right
          to disseminate information and data regarding the role of Dominion voting machines in
          election fraud and election tampering.”

Motion, at 7 (emphasis in original). Lindell, however, actually pled a much different cause of

action than Smartmatic tries to spin:

          The facts alleged above and to be proven at trial will demonstrate that the Dominion
          Defendants and Smartmatic Defendants acted under color of state law to engage in
          invidious discrimination or intentional misconduct to the detriment of Lindell and others
          of his same class of voter. Specifically, the Dominion Defendants and Smartmatic
          Defendants, acting under color of state law as a private corporation authorized and
          employed by various states under their Constitutional obligations to perform the essential
          state function of administering and conducting the 2020 Presidential Election, have
          attempted through the use of the courts and the litigation process to suppress Lindell’s
          freedom of speech and his right to disseminate information and data regarding the role of
          Dominion voting machines in election fraud and election tampering.

Complaint ¶ 173 (emphasis added). Again, the italics are what Smartmatic quotes, foregoing the

underlined portion that gives context and the basis for the cause of action. Smartmatic’s summary

does not accurately reflect Lindell’s claim. Smartmatic’s purported summary of Counts VI, VII,

and III are equally misleading.



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       In sum, no court has ruled on the causes of action pled by Lindell and the facts supporting

them. Indeed, Smartmatic cites none. Neither Lindell nor counsel have defied court rulings in

bringing these counterclaims/third party claims.

E.     None Of Smartmatic’s Remaining Cases Support Sanctions.

       Unsurprisingly, not a single other case cited by Smartmatic supports the imposition of

sanctions on a party or his counsel who filed suit to protect a Constitutional right, based on sound

legal theories, citing more than 130 pieces of evidence (at the pleading stage), and whose claims

have not been dismissed.

       1.      Lindell’s Complaint Does Not Suffer From The Absence Of Facts.

       Several of the cases cited by Smartmatic support an award of sanctions when a plaintiff is

unable to produce any evidence in support of its claims. See Carswell v. Air Line Pilots Ass'n,

Intern., 248 F.R.D. 325, 329-30 (D.D.C. 2008); Abner Realty, Inc. v. Adm’r of Gen. Services

Admin, No. 97 CIV. 3075dis (RWS), 1998 WL 410958, at *4-8 (S.D.N.Y. July 22, 1998). In

Abner Realty, the court further noted there was no investigation or evidence to substantiate

Plaintiff’s claims, and the only corroboration of Plaintiff’s allegations was “upon information and

belief.” See Abner Realty, No. 97 CIV. 3075 (RWS), 1998 WL 410958, at *4-8. This stands in

stark contrast to the plethora of evidence Lindell cited in the Complaint and the response to

Smartmatic’s Motion to Dismiss and detailed above.

       Other cases impose sanctions when a party admittedly conducted no pre-suit investigation.

In Del Canto v. ITT Sheraton Corp., 865 F. Supp. 934, 938 (D.D.C. 1994), aff'd sub nom. del

Canto v. Richardson, 70 F.3d 637 (D.C. Cir. 1995), the court held that the plaintiff conducted no

pre-suit investigation and provided no evidence of a conspiracy between the defendants. In Intelsat

USA Sales LLC v. Juch-Tech, Inc., No. CV 10-2095 (RC), 2014 WL 12787643, at *7 (D.D.C. Oct.

15, 2014), the defendant offered an affidavit in support of his counterclaims that facially showed


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how little defendant knew at the time of making the tortious interference allegations and did not

identify a single witness who actually heard the plaintiff’s representative make a disparaging or

defamatory comment about defendant and did not identify a single plaintiff’s representative who

allegedly made such comments or describe how the comments affected a customer’s decision

making. Indeed, as opposed to the attorney in Hanson v. Greenspan, No. CIV. A. 91-1599(GHR),

1991 WL 274267, at *4 (D.D.C. Dec. 6, 1991), who was sanctioned for filing a complaint with

obvious facial defects (none of which have been alleged by Smartmatic) and who signed an

affidavit informing the court that a complaint was filed “before digging into the facts,” Lindell’s

Complaint cites more than 130 pieces of evidence.

       There can simply be no credible claim that Lindell and his counsel failed to conduct a

sufficient pre-suit investigation before suing Smartmatic.

       2.      Lindell’s Complaint Is Legally Sound And Not Frivolous.

       In Cousin v. D.C., 142 F.R.D. 574, 577 (D.D.C. 1992), the defendant failed to cite relevant,

controlling authority in its motion to dismiss or in the alternative for summary judgment, as

required by the D.C. Rules of Professional Conduct 3.3(a)(3). Per Rule 3.3(a)(3), failure to

disclose controlling, adverse authority is unreasonable. Id. Therefore, because the cases which

defendant failed to cite were determinative of defendant's argument, and because Rule 3.3(a)(3)

mandates a party to cite adverse, controlling authority, defendant’s failure to cite the cases was

unreasonable and thus sanctionable under Rule 11. Id. In his Response to Smartmatic’s Motion

to Dismiss, Lindell cited 113 cases in addition to numerous statutes, rules, law review articles and

legislative history to support his claims against Smartmatic.

       The sanctions award in Son Ly v. Solin, Inc., 910 F. Supp. 2d 22, 31-32 (D.D.C. 2012) was

based on the plaintiff first pleading diversity jurisdiction when even the most cursory of legal




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inquiries would have uncovered this error, and then pleading two wholly insubstantial civil RICO

claims in an effort to invoke federal question jurisdiction. The RICO claims were not warranted

by existing law or a “nonfrivolous argument for extending, modifying, or reversing existing law

or establishing new law.” See Fed. R. Civ. P. 11(b)(2). The court held that it appeared that the

RICO claims were frivolously filed solely to invoke the jurisdiction of this Court and sanctions

under Rule 11 may be warranted. Son Ly, 910 F. Supp. 2d at 31–32. Similar reasoning supported

the sanctions award in Williams v. Aztar Indiana Gaming Corp., 351 F.3d 294, 299-300 (7th Cir.

2003). Here, Lindell clearly did not plead RICO claims to establish federal question jurisdiction,

and as detailed above, fully intends to pursue his RICO claims.

        3.      Lindell’s Claims Were Not Filed For Improper Purposes.

        Bachi-Reffitt v. Reffitt, 802 Fed. Appx. 913 (6th Cir. 2020) is a divorce case where an ex-

wife asserted a RICO claim against her ex-husband and his father. The Court issued sanctions

because of the near-unanimous court rulings that “concealment of assets by a husband from a wife

. . . does not render it a pattern of racketeering activity . . . for purposes of RICO.” Id. at 913, 916–

17. Unlike this case, the district court explained that the plaintiff and her attorney “had no good

faith basis to file this case,” knew that they did not, and could offer no “non-frivolous” explanation

as to why they did so anyway, and the Sixth Circuit affirmed the award of sanctions. Id. at 913,

918–19.

        4.      Lindell Did Not Plead Himself Out Of Court.

        In the Florida case Del Pino v. Bay of Pigs Veterans Ass'n, No. 07-22869-CIV, 2008 WL

11411845, at *2-3 (S.D. Fla. Feb. 12, 2008), the court determined that the plaintiff pled himself

out of court by failing to allege the defendant exercised any power she received by virtue of state

law or that her conduct was fairly attributable to the State for his 1983 claim, and the plaintiff




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referred to the defendant as the host of a privately owned radio show in his pleading (making the

defendant improper for a Section 1983 claim). Del Pino v. Bay of Pigs Veterans Ass'n, No. 07-

22869-CIV, 2007 WL 9706830, at *2 (S.D. Fla. Dec. 28, 2007). The Court found further pleading

deficiencies and dismissed the case. Id. at *3. Only after dismissal did the court consider a request

for Rule 11 sanctions, finding that the plaintiff’s 1983 and 1985 claims were objectively frivolous.

Del Pino, No. 07-22869-CIV, 2008 WL 11411845, at *2-3. Smartmatic has not alleged that

Lindell has failed to plead necessary elements—it just disagrees with the factual bases for Lindell’s

claims. Further, the Court has not dismissed Lindell’s claims against Smartmatic.

        In Williams v. Romarm S.A., No. 19-CV-183 (EGS), 2020 WL 1557156, at *1 (D.D.C.

Apr. 1, 2020), appeal dismissed sub nom. Williams v. Romarm, SA, Mfr., Imp. & Distrib. of

Semiautomatic Assault Weapon WASR10, Ser. No. CA4367-70, No. 21-7010, 2022 WL 412449

(D.C. Cir. Feb. 3, 2022), the plaintiffs filed suit in several jurisdictions for claims based on the

same facts and involving the same parties. The plaintiffs’ complaint contained no claims for relief,

no factual allegations, and no demand for the relief sought. Id. at *1. Further, the court found that

the plaintiffs’ claims were barred under the doctrine of collateral estoppel. Id. at *3-5. Finally,

the court noted that Plaintiffs’ attorney had a history of violating the Court’s rules and was not a

member in good standing with the Court at the time of the initial filing of the action. Again, not a

single one of these facts applies to this case. Id. at *9.

        5.      Lindell Has Not Re-Pled Previously Dismissed Claims.

        Sanctions were awarded in BEG Investments, LLC v. Alberti, 85 F. Supp. 3d 13, 50-52

(D.D.C. 2015) when a plaintiff reasserted his claims after the court had already dismissed them

with prejudice. Similar conduct was sanctioned in Reynolds v. U.S. Capitol Police Bd., 357 F.

Supp. 2d 19, 24-25 (D.D.C. 2004), where the plaintiff and his counsel (a) continued to pursue




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claims that were determined to be time-barred; (b) re-filed a nearly identical complaint to one that

had been previously dismissed; and (c) amended a complaint in a way calculated to appear

different, but in substance was the same. Likewise, in In re Ames, 993 F.3d 27, 33-36 (1st Cir.

2021), after the judge noted that defendant’s actions simply did not violate any of plaintiff’s rights

and recommended dismissing plaintiff’s claims but granted the plaintiff leave to replead his claims

and cure the deficiencies, the plaintiff simply recycled his claims and “ignored clear, widely

available pleading requirements for discrimination and retaliation claims” by failing to allege the

existence of a contractual relationship or that defendant’s actions were even motivated by racial

animus. This is completely inapposite to this case; Lindell’s have not been dismissed.

       6.      Lindell’s Complaint Does Not Compound Factual And Legal Deficiencies
               With An Improper Purpose.

       The sanctions award in Thomas v. Early County, GA, 360 Fed. Appx. 71, 75-76 (11th Cir.

2010) was based on a compounding of several factors not present here, including the plaintiffs

conceding error and removing some of the legally unsupportable allegations in their response to

defendants’ motion to dismiss and the fact that the plaintiffs filed three complaints alleging facts

without support—over a period of four years—and waited for defendants to move for summary

judgment, then voluntarily dismissed their claims without ever presenting any facts to support their

allegations.

       Another case that compounds several grounds for sanctions is Hollister v. Soetoro, 258

F.R.D. 1 (D.D.C. 2009), aff'd, 368 Fed. Appx. 154 (D.C. Cir. 2010). After an initial suit was

dismissed, the plaintiff’s lawyer found a new plaintiff to file a substantially similar lawsuit. Id. at

*2. The court found that Hemenway’s invocation of the interpleader statute was completely

frivolous and dismissed the complaint. Id. at *2-3. The court also found that the lawyer knew his

suit offered no hope whatsoever of success and that the attorney had no colorable authority that



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his claim could be an interpleader suit or that his claim had any particular dollar value. Id. at *5.

Not a single one of these facts aligns to this case.

       7.         Smartmatic’s Remaining Cases Are Wholly Inapposite.

       Geller v. Randi, 40 F.3d 1300, 1302-03 (D.C. Cir. 1994) merely stands for the proposition

that the Court can impose sanctions on a party who fails to respond to a motion for sanctions.

Lindell wholly opposes Smartmatic’s baseless motion as evidenced herein. LeFande v. Mische-

Hoeges, No. 10-CV-1857 (DLF), 2019 WL 8331599, at *3-4 (D.D.C. Jan. 29, 2019), aff'd, 806

Fed. Appx. 1 (D.C. Cir. 2020) discusses the appropriateness of additional sanctions against an

attorney who was previously sanctioned—which, again, is not so with this case. Matter of

Giuliani, 146 N.Y.S.3d 266 (N.Y. App. Div. 2021), and Wisconsin Voters Alliance, No. CV 20-

3791 (JEB), 2021 WL 686359 (D.D.C. Feb. 19, 2021) are grievance cases, not Rule 11 cases, and

are wholly inapposite to this case.

       Put plainly, Smartmatic has no factual or legal basis supporting sanctions against Lindell

or his counsel.

                                              IV.
                                          CONCLUSION

       Lindell and his counsel have pled good faith complaints supported by extensive evidence

to vindicate Mike Lindell’s First Amendment right to the freedom of speech. Nothing in the

Complaint or the actions of Lindell or his counsel violate Fed. R. Civ. P. 11. Accordingly,

Smartmatic’s Motion should be denied.




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 Dated: February 25, 2022                         Respectfully submitted,

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                                                  Counsel for Defendant Michael J. Lindell




                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing instrument was served upon
all parties of record through the Court’s CM ECF system on February 25, 2022.

                                                  /s/ Douglas A. Daniels
                                                  Douglas A. Daniels




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